       Case 1:03-cr-00093-HSO           Document 106        Filed 03/31/06       Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 SOUTHERN DIVISION



UNITED STATES OF AMERICA

VS.                                                               CRIMINAL NO. 1:03cr93WJG-4

NIKIA DONYELLA BURTS


                                   MEMORANDUM OPINION


       This cause is before the Court on Nikia Donyella Burts' motion for return of seized

property [100-1] pursuant to Rule 41(g) of the Federal Rules of Criminal Procedure or

alternatively, this Court's original jurisdiction under 28 U.S.C. § 1331. Because the criminal

proceedings against Burts were concluded at the time he filed the instant motion, the Court will

treat this matter as a civil action pursuant to 28 U.S.C. § 1331, seeking the return of property.

See Clymore v. United States, 217 F.3d 370, 373 (5th Cir. 2000). After due consideration of the

arguments, evidence of record, applicable law, and being otherwise advised in the premises, the

Court finds as follows:

       On November 6, 2003, pursuant to a verbal consent to search, Federal Bureau of

Investigation [FBI] agents seized from Burts' truck (1) $43,770.00 in currency, (2) a Mississippi

Power Company bill, (3) an Enterprise rental agreement and (4) the vehicle's Alabama title. On

or about February 10, 2004, Burts pleaded guilty to one count of the indictment and was

sentenced on June 14, 2004. The Court entered its Judgment of conviction on June 30, 2004,

ending the criminal proceedings against Burts. Burts now seeks the return of the $43,770.00

seized by the FBI.
       Case 1:03-cr-00093-HSO            Document 106          Filed 03/31/06      Page 2 of 3




        In accordance with statutory authority, the FBI executed a Declaration of Administrative

Forfeiture against the property on December 14, 2004. (Ct. R., Doc. 102, Exh. F.) Burts alleges

that he did not receive any notices of forfeiture regarding the property. The notice provisions

applicable to the instant case are set out in 19 U.S.C. § 1607(a) and require that prior to forfeiture

of amounts below $500,000 the United States must (1) "cause a notice of the seizure of [the

property] and the intention to forfeit . . . the same . . to be published for at least three successive

weeks [in a newspaper of general circulation];" and (2) send "[w]ritten notice of seizure, together

with information on the applicable procedures . . . to each party who appears to have an interest

in the seized [property]." United States v. Robinson, 78 F.3d 172, 175 (5th Cir. 1996).

        The Declaration of Administrative Forfeiture states that:

        Notice of this action was sent to all know parties, by certified mail, who may have
        a legal or possessory interest in the property. Notice of this action was published
        once a week for three consecutive weeks in the Wall Street Journal, New York,
        NY, in accordance with 19 U.S.C. Section 1607.

(Ct. R., Doc. 102, Exh. F.) The dates of publication were July 2, July 9 and July 16, 2004. (Ct.

R., Doc. 102, p. 3. Additionally, in November 2003, notices were mailed to Burts at four

different addresses. (Ct. R., Doc. 102, Exhs. A - D.) One of these notices was mailed to and

accepted by the Harrison County Jail in Gulfport, Mississippi, where Burts was incarcerated.

(Ct. R., Doc. 102, Exh. D.) Another notice was mailed to and received by Burts' attorney, Calvin

Taylor, in Pascagoula, Mississippi. (Ct. R., Doc. 102, Exh. C.) On December 12, 2003, Mr.

Taylor mailed a letter to the FBI which stated:

                Thank you for sending me the information relative to the cash seized from
        a 2004 Chevrolet Silverado in Jackson County, Mississippi. Upon speaking with
        my client, Nikia D. Burts, he advises me he had no knowledge of the cash sum in
        the truck and therefore does not claim any interest in same.


                                                   -2-
       Case 1:03-cr-00093-HSO           Document 106         Filed 03/31/06      Page 3 of 3




(Ct. R., Doc. 102, Exh. E.) Based on the foregoing, the Court finds that Burts received proper

notice of the forfeiture, and his action for the return of property should be denied.

       For the reasons stated herein, this Court finds that Burts' motion for recovery of seized

property should be denied. A separate judgment in conformity with and incorporating by

reference the above Memorandum Opinion shall issue this date. Each party shall bear their

respective costs associated with this motion.

       THIS the 30th day of March, 2006.




                                                UNITED STATES SENIOR DISTRICT JUDGE




                                                 -3-
